




Filed 7/12/17 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2017 ND 164









In the Interest of A.F.L., a Child



N.S.L. and P.D.L., 		Petitioners and Appellees



v.



B.M.W., 		Respondent and Appellant



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and



Department of Human Services of North Dakota, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent







No. 20170203







Appeal from the District Court of Cass County, East Central Judicial District, the Honorable Frank L. Racek, Judge.



AFFIRMED.



Per Curiam.



Jared J. Hines, Fargo, ND, for petitioners and appellees.



Kiara C. Kraus-Parr, Grand Forks, ND, for respondent and appellant.

Interest of A.F.L.

No. 20170203



Per Curiam.

[¶1]	
B.W. appealed a district court’s order terminating his parental rights to A.F.L. On appeal, B.W. argues the district court was clearly erroneous in finding B.W. abandoned A.F.L. and that it was in A.F.L.’s best interest to terminate B.W.’s parental rights. Because the district court’s findings were not clearly erroneous, we summarily affirm under N.D.R.App.P. 35.1(a)(2).

[¶2]	Gerald W. VandeWalle, C.J.

Carol Ronning Kapsner

Lisa Fair McEvers

Jerod E. Tufte

Daniel J. Crothers


